             U N I T E D S TAT E S D I S T R I C T C O U RT
          FOR THE SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION


 Richard Lowery, on behalf of himself          Civil Action No.
 and others similarly situated,                4:22-cv-3091

                       Plaintiff,
                                               Judge Charles Eskridge
 v.

 Texas A&M University System, et al.,

                       Defendants.


      PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
      Plaintiff Richard Lowery respectfully advises the Court of the Fifth Circuit’s

decision earlier today in Jackson v. Wright, No. 22-40059 (5th Cir.). Jackson rejected

a sovereign-immunity defense from university officials that resembles the sovereign-

immunity argument asserted by the defendants here. Compare slip op. at 5–8 (at-

tached as Ex. 1) with Mot. to Dismiss, ECF No. 22, at 12–14; Reply Br., ECF No. 26,

at 5–6. Jackson holds that “a mere scintilla of enforcement” authority is all that is

needed to make university officials proper defendants in an Ex parte Young action,

and that the mere existence of a defendant’s “governing authority” over a university
is enough to satisfy that standard. See slip op. at 6 (“[T]he Board defendants have

the required ‘scintilla of enforcement’ due to their governing authority over

UNT.”). Each of the named defendants in this case has “governing authority” over
Texas A&M, so they have more than the required “scintilla of enforcement” author-

ity over the university’s hiring decisions.




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    Jackson also reaffirms that mere allegations of continuing or future injury are

enough to beat back a facial challenge to standing at the motion-to-dismiss stage, and

that a plaintiff’s allegations must be accepted as true when ruling on standing at this

stage of the litigation. See slip op. at 9 (“At the motion to dismiss stage where we

must accept all Jackson’s allegations as true, he has plainly alleged both a continuing

and a future injury sufficient to confer standing for him to seek prospective relief.”).
    We have attached a copy of Jackson to this notice.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
 Gene P. Hamilton                           Jonathan F. Mitchell
 Virginia Bar No. 80434                     Attorney in Charge
 Vice-President and General Counsel         Texas Bar No. 24075463
 America First Legal Foundation             S.D. Tex. Bar No. 1133287
 300 Independence Avenue SE                 Mitchell Law PLLC
 Washington, DC 20003                       111 Congress Avenue, Suite 400
 (202) 964-3721 (phone)                     Austin, Texas 78701
 gene.hamilton@aflegal.org                  (512) 686-3940 (phone)
                                            (512) 686-3941 (fax)
                                            jonathan@mitchell.law

                                            Counsel for Plaintiff and
 Dated: September 15, 2023                  the Proposed Class




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                         CERTIFICATE OF SERVICE
    I certify that on September 15, 2023, I served this document through CM/ECF

upon:

M. Carter Crow
Layne E. Kruse
Paul Trahan
Ryan Meltzer
Jesika Silva Blanco
1301 McKinney, Suite 5100
Houston, Texas 77010-3095
(713) 651-5151 (phone)
(713) 651-5246 (fax)
carter.crow@nortonrosefulbright.com
layne.kruse@nortonrosefulbright.com
paul.trahan@nortonrosefulbright.com
ryan.meltzer@nortonrosefulbright.com
jesika.blanco@nortonrosefulbright.com

Counsel for Defendants

                                         /s/ Jonathan F. Mitchell
                                        Jonathan F. Mitchell
                                        Counsel for Plaintiff and the Proposed Class




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